                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE MIDDLE DISTRICT OF ALABAMA
                          NORTHERN DIVISION

EDWARD BRAGGS, et al.,                )
                                      )
     Plaintiffs,                      )
                                      )
            v.                        )     CIVIL ACTION NO.
                                      )     2:14-CV-00601-MHT-GMB
JEFFERSON DUNN, in his official       )
capacity as Commissioner              )
of the Alabama Department of          )
Corrections, et al.,                  )
                                      )
     Defendants.                      )
                                      )


  PLAINTIFFS’ MOTION TO UNSEAL TRANSCRIPT FROM APRIL 15,
                           2019

     In the Phase 2A Understaffing Remedial Order, the Court ordered

Defendants to file Warren Averett’s recruitment and retention recommendations

by November 2, 2018. Doc. 1657 at 3. The Court also ordered ADOC to

implement Warren Averett’s recommendations by December 1, 2018, with any

modifications agreed to by the Parties or ordered by the Court. Id. Defendants filed

the Warren Averett Report on November 2, 2018. However, Defendants filed two

versions of the Report: One redacted, and one unredacted but under seal. Doc.

2150. Plaintiffs filed a Motion to Unseal the Warren Averett Report in its entirety

on November 5, 2018. Doc. 2157. On April 15, 2019, the Court held a hearing on
Plaintiffs’ motion. Doc. 2479. Because the hearing was to discuss the sealed

information in the Warren Averett Report, the hearing was held in camera. On

April 16, 2019, the Court granted Plaintiffs’ motion. Doc. 2489. In light of the

Court’s order unsealing the Warren Averett Report in full, Plaintiffs hereby move

the Court to order that the transcript from the April 15, 2019 hearing be unsealed

in full.

                                   ARGUMENT

      It is well-established that there is a general right to inspect and copy public

records and documents, including judicial records and documents. Nixon v.

Warner Commc’ns, Inc., 435 U.S. 589, 597 (1978); Newman v. Graddick, 696

F.2d 796 (11th Cir. 1983) (extending Nixon, a case about the common law right of

access to records in criminal cases, to civil cases). The common law right of access

creates “a general presumption that criminal and civil actions should be conducted

publicly.” FTC v. AbbVie Prods. LLC, 713 F.3d 54, 62 (11th Cir. 2013). The

presumption in favor of public access can only be overcome by a showing of good

cause, which requires “balancing the asserted right of access against the other

party’s interest in keeping the information confidential.” Romero v. Drummond

Co., 480 F.3d 1234, 1246 (11th Cir. 2007).

      When a court seals any piece of a record, the court must “balance the

competing interests of the parties” in determining whether to unseal particular
documents. Chicago Tribune Co. v. Bridgestone/Firestone, Inc., 263 F.3d 1304,

1312 (11th Cir. 2001). In other words, under the public’s presumptive right to

open records, the Court must determine “whether there is good cause to deny the

public the right to access.” FTC, 713 F.3d at 62. Relevant factors to consider

include “whether the records are sought for such illegitimate purposes as to

promote public scandal or gain unfair commercial advantage, whether access is

likely to promote public understanding of historically significant events, and

whether the press has already been permitted substantial access to the contents of

the records.” Newman, 696 F.2d at 803.

     Defendants’ only argument for conducting the hearing on unsealing the

Warren Averett Report in camera was that the information in the report was sealed

and they were seeking to keep it that way. In ordering that Defendants

immediately unseal the Warren Averett Report in full, Court rejected Defendants’

argument and found for Plaintiffs. Specifically, the Court held that “the public’s

interest in accessing the redacted sections outweighs defendants’ interest in

confidentiality.” Doc. 2489 at 2. Further, the Court found that “the public has an

enormous interest in accessing the recommended compensation increases, in light

of the current legislative and administrative deliberations over correctional

compensation, and the public’s strong interest in overseeing government

spending.” Id. Moreover, the Court found that “[D]efendants’ interest in
confidentiality is significantly diminished by the fact that they have already

voluntarily disclosed to the public information indicating that they will increase

compensation for correctional officers.” Id.

     For the same reasons that the Court found that Defendants failed to show

good cause as to why the Warren Averett Report should be sealed, the April 15,

2019 hearing regarding the unsealing of the Warren Averett Report should also be

unsealed. Plaintiffs respectfully request that the Court order the same.




Dated: April 17, 2019                   Respectfully Submitted,

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I hereby certify that I have on this 17th day of April, 2019 electronically filed the
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